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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF VERMONT


FRIENDS OF PINE STREET, d/b/a                      )
PINE STREET COALITION                              )
                     Plaintiff,                    )
                                                   )         Civil Action No.
            v.                                     )         5:19-CV-00095-GWC
                                                   )
THOMAS D. EVERETT, in his capacity as              )
Executive Director of the Federal Highway          )
Administration, JOE FLYNN, in his capacity         )
as Secretary of the State of Vermont Agency of,    )
Transportation, and MIRO WEINBERGER, in            )
his capacity as Mayor of Burlington,               )
                              Defendants.          )



              DEFENDANT THOMAS D. EVERETT’S STATUS REPORT

        Defendant, Thomas D. Everett, in his official capacity as Executive Director of the

 Federal Highway Administration (“FHWA”), by and through his attorney, Jonathan A.

 Ophardt, Acting United States Attorney for the District of Vermont, hereby provides the

 Court with this Status Report in compliance with the Court’s August 9, 2019, Order granting

 a voluntary remand to FHWA.

        Since the May 20, 2021 Status Report, the Limited-Scope Final Supplemental

 Environmental Impact Statement (LS-FSEIS) was approved and published in the Federal

 Register on September 17, 2021. The required 30-day review period between the publication

 of the LS-FSEIS and a Record of Decision (“ROD”) expired on October 18, 2021. Since that

 date the Defendants have been working on drafts of a ROD and moving those drafts through

 the respective review processes.

        It is currently anticipated that final approval and publication of the ROD will occur in
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    mid to late November. This timeline is subject to extension if during the review process

    changes or revisions are requested that require additional reviews. There is also uncertainty

    on the timeline due to the possibility of furlough for employees at the Federal Highway

    Administration. Currently, funding for the agency is only authorized through December 3,

    2021. See With Negotiations Ongoing, Congress Moves to Avert Furloughs for Thousands of

    Federal Transportation Workers, Michael Laris, Oct. 29, 2021,

    www.washingtonpost.com/transportation/2021/10/28/surface-transportation-authorization/.

    Congress must pass the pending infrastructure legislation, or a further temporary bill,

    granting appropriations for FHWA, by December 3, 2021, or FHWA’s staff will be

    furloughed. 1 See Dept. of Transp., Operations During a Lapse in Annual Appropriations and

    Surface Transp. Authorization Plans by Operating Admin., Sept. 28, 2021, available at

    www.transportation.gov/sites/dot.gov/files/2021-09-/DOT%20Shutdown%20Plan%209-28-

    2021.pdf. Given the uncertainty regarding the passage of the infrastructure legislation, if a

    furlough occurs FHWA cannot opine on how long it would last, or how long it would delay

    publication of the ROD. FHWA proposes that the stay be continued, and that FHWA submit

    to the Court a further status report upon publication of the ROD. The parties have further

    agreed that they will submit a scheduling order to the Court, establishing all briefing

    deadlines, within 30 days of the issuance of the ROD.

          Dated at Burlington, in the District of Vermont, this 29th day of October, 2021.




1
 FHWA staff were among 3,700 U.S. Department of Transportation Staff furloughed from
September 30 through October 2 due to the expiration of funding, before Congress passed a
temporary 30-day funding bill. See Ian Duncan, Biden Signs Measure to Extend Federal
Highway Fund Amid Debate over Infrastructure Package, Oct. 2, 2021,
www.washingtonpost.com/transportation/2021/10/01/transportation-department-furloughs/
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                                  Respectfully submitted,
                                  JONATHAN A. OPHARDT
                                  Acting United States Attorney

                            By:   __/s/ Jason Turner________________
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                                  Attorney for the Thomas D. Everett, in his
                                  official capacity as Executive Director of the
                                  Federal Highway Administration
